Case 1:23-cv-00247-MN Document 1-2 Filed 03/07/23 Page 1 of 1 PagelD #: 189

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

JOHN PAUL MAC ISAAC,
Plaintiff,
Vv.
CABLE NEWS NETWORK, INC., ADAM
BENNETT SCHIFF, POLITICO LLC,
ROBERT HUNTER BIDEN, AND BFPCC,
INC.,

Defendants.

CERTIFICATION OF THE DIRECTOR OF THE TORTS BRANCH,
CIVIL DIVISION, UNITED STATES DEPARTMENT OF JUSTICE

I, James G. Touhey, Jr., am the Director of the Torts Branch, Civil Division, United
States Department of Justice, responsible for most civil litigation under the Federal Tort Claims
Act. I have read the amended complaint dated January 20, 2023, in the above-captioned case.
Pursuant to 28 U.S.C. § 2679, and by virtue of the authority vested in me pursuant to 28 C.F.R. §
15.4, I hereby certify, on the basis of the information now available with respect to the incidents
alleged in the complaint, that defendant Adam Schiff was acting within the scope of his

employment as a Member of Congress at the time of the alleged conduct.

Dated: Wark a 2023

YAMES G. TOUHEY, JR. © (/
Director, Torts Branch
Civil Division, United States Department of Justice

